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 3   Sacramento, California 95825
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 5
     Attorney for Defendant
 6   GARRET G. GILILLAND III
 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                    )
                                                  )      Case No. Cr. S-08-376 EJG
11                         Plaintiff,             )
                                                  )      STIPULATION AND
12                                                )      ORDER CONTINUING STATUS
                    v.                            )      CONFERENCE; EXCLUSION OF TIME
13                                                )
     GARRET G. GILILLAND III, et al.,             )      Date: December 10, 2010
14                                                )      Time: 10:00 a.m.
                           Defendants.            )      Judge: Honorable Edward J. Garcia
15                                                )
16          The United States of America, by and through Assistant U.S. Attorney Russell L. Carlberg,
17   and defendant Garret G. Gililland III, by and through counsel Scott L. Tedmon; defendant William
18   E. Baker, by and through counsel Assistant Federal Defender Douglas J. Beevers; defendant Shane
19   Burreson, by and through counsel Matthew G. Jacobs; defendant Christopher M. Chiavola, by and
20   through counsel Clyde M. Blackmon; defendant Brandon Resendez, by and through counsel Peter
21   Kmeto; defendant Leonard Williams, by and through counsel Joseph J. Wiseman; defendant Nicole
22   Magpusao, by and through counsel Krista Hart; defendant Niche Fortune, by and through counsel
23   Michael D. Long; defendant Kesha Haynie, by and through counsel Eduardo G. Roy; and defendant
24   Remy Heng, by and through counsel Robert J. Saria, hereby stipulate that the Status Conference set
25   for Friday, December 10, 2010 at 10:00 a.m., be continued to Friday, February 25, 2011 at 10:00
26   a.m. before United States District Judge Edward J. Garcia.
27          The government has provided a substantial volume of discovery to defense counsel. The
28   total number of pages of discovery produced by the government exceeds 50,000 pages. Each of the

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 1   above-enumerated defense counsel need additional time to review the discovery materials produced
 2   by the government and confer with their respective client. As such, the government and all defense
 3   counsel stipulate it is appropriate to continue the current status conference to Friday, February 25,
 4   2011 at 10:00 a.m. Deputy Courtroom Clerk Colleen Lydon has confirmed the requested hearing
 5   date of February 25, 2011 is available. No jury trial date has been set.
 6           The government and all defense counsel further stipulate the Court should find that time be
 7   excluded through February 25, 2011 under the Speedy Trial Act based on complexity and the need
 8   of counsel to prepare pursuant to 18 U.S.C. §3161(h)(8)(B)(ii) and (iv); Local Code T2 and Local
 9   Code T4. The government and all defense counsel further stipulate and agree that the interests of
10   justice served by granting this continuance outweigh the best interests of the public and the defendant
11   in a speedy trial pursuant to18 U.S.C. § 3161(h)(8)(A).
12           Finally, Scott L. Tedmon has been authorized by the government and all defense counsel to
13   sign this stipulation on their behalf.
14   IT IS SO STIPULATED.
15   DATED: December 6, 2010                        BENJAMIN B. WAGNER
                                                    United States Attorney
16
                                                    /s/ Russell L. Carlberg
17                                                  RUSSELL L. CARLBERG
                                                    Assistant U.S. Attorney
18
19   DATED: December 6, 2010                        LAW OFFICES OF SCOTT L. TEDMON
20                                                  /s/ Scott L. Tedmon
                                                    SCOTT L. TEDMON
21                                                  Attorney for Defendant Garret Gililland III
22   DATED: December 6, 2010                        DANIEL J. BRODERICK
                                                    Federal Defender
23
                                                    /s/ Douglas J. Beevers
24                                                  DOUGLAS J. BEEVERS, AFD
                                                    Attorney for Defendant William E. Baker
25
     DATED: December 6, 2010                        STEVENS, O’CONNELL & JACOBS
26
                                                    /s/ Matthew G. Jacobs
27                                                  MATTHEW G. JACOBS
                                                    Attorney for Defendant Shane Burreson
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 1   DATED: December 6, 2010           BLACKMON & ASSOCIATES
 2                                     /s/ Clyde M. Blackmon
                                       CLYDE M. BLACKMON
 3                                     Attorney for Defendant Christopher Chiavola
 4   DATED: December 6, 2010           LAW OFFICES OF PETER KMETO
 5                                     /s/ Peter Kmeto
                                       PETER KMETO
 6                                     Attorney for Defendant Branson Resendez
 7   DATED: December 6, 2010           LAW OFFICES OF JOSEPH J. WISEMAN
 8                                      /s/ Joseph J. Wiseman
                                       JOSEPH J. WISEMAN
 9                                     Attorney for Defendant Leonard Williams
10   DATED: December 6, 2010           LAW OFFICES OF KRISTA HART
11                                     /s/ Krista Hart
                                       KRISTA HART
12                                     Attorney for Defendant Nicole Magpusao
13   DATED: December 6, 2010           LAW OFFICES OF MICHAEL D. LONG
14                                     /s/ Michael D. Long
                                       MICHAEL D. LONG
15                                     Attorney for Defendant Niche Fortune
16   DATED: December 6, 2010           DLA PIPER, LLP
17                                     /s/ Eduardo G. Roy
                                       EDUARDO G. ROY
18                                     Attorney for Defendant Kesha Haynie
19   DATED: December 6, 2010           LAW OFFICES OF SARIA & SARIA
20                                     /s/ Robert J. Saria
                                       ROBERT J. SARIA
21                                     Attorney for Defendant Remy Heng
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 1                                               ORDER
 2         GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
 3 ORDERED that the Status Conference now scheduled for Friday, December 10, 2010 at 10:00 a.m.,
 4 is hereby continued to Friday, February 25, 2011 at 10:00 a.m., before the Honorable Edward J.
 5 Garcia. Based upon the above stipulation, the Court finds that time be excluded under the Speedy
 6 Trial Act for complexity and need of counsel to prepare pursuant to 18 U.S.C. §3161(h)(8)(B)(ii) and
 7 (iv), Local Code T2 and Local Code T4, through the Status Conference date of February 25, 2011.
 8   The Court finds that the interests of justice served by granting this continuance outweigh the best
 9 interests of the public and each defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h)(8)(A).
10         IT IS SO ORDERED.
11
12 DATED: December 9 , 2010                 /s/Edward J. Garcia
                                                 EDWARD J. GARCIA
13                                               United States District Judge
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